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                                     EXHIBIT B




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                                                        CUBI Remittance Wire Summary 12/14/2022



1,071,094.43 Customer Payments owed to SBA included in settlement payment amount




   925,242.87 Remitted to the SBA in October 2022 and withheld from CUBI October remittances; Kservicing owes back to CUBI
   145,851.56 Portion of $411,328.50 Remitted to the SBA in November 2022 and NOT withheld from CUBI November remittances
 1,071,094.43 Total



 (366,750.65) CUBI Gross Remittances for November 2022
  265,476.94 Portion of $411,328.50 Remitted to the SBA in November 2022 and withheld from CUBI November remittance wire
 (101,273.71) Net owed in cash to CUBI for November 2022

 (925,242.87) From Above ‐ Remitted to the SBA in October 2022 and withheld from CUBI October remittances; Kservicing owes back to CUBI

(1,026,516.58) Total Wire to CUBI December 2022
